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                                      EXHIBIT A




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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

In re:                                                  )    Chapter 11
                                                        )
LAZY DAYS’ R.V. CENTER, INC., et al.,1                  )    Case No. 09-13911 (___)
                                                        )
                          Debtors.                      )    Joint Administration Requested
                                                        )
                                                        )    Ref. Docket No.

             INTERIM ORDER (A) AUTHORIZING THE DEBTORS TO
         OBTAIN POSTPETITION FINANCING FROM BANK OF AMERICA,
   N.A., AS AGENT, AND BANK OF AMERICA, N.A., AND KEYBANK NATIONAL
   ASSOCIATION, AS LENDERS; (B) GRANTING LIENS AND SUPERPRIORITY
 CLAIMS; (C) AUTHORIZING USE OF CASH COLLATERAL; (D) MODIFYING THE
          AUTOMATIC STAY; AND (E) SCHEDULING A FINAL HEARING

          On November __, 2009, the Court heard the motion dated November __, 2009 (the

 “Motion”), of Lazy Days’ R.V. Center, Inc. (the “Company”), and the other debtors,2 each as a

 debtor and debtor in possession (each individually a “Debtor” and, collectively, the “Debtors”):

          (i)      for authorization and approval, pursuant to sections 105, 361, 362, and 364 of title

 11 of the United States Code (the “Bankruptcy Code”) and Rules 2002, 4001, and 9014 of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for the Debtors to obtain

 postpetition financing (the “DIP Facility”) from Bank of America, N.A., as administrative agent

 and collateral agent (in such capacities, the “DIP Agent”), and Bank of America, N.A., and

 KeyBank National Association, as lenders (in such capacity, the “DIP Lenders”), pursuant to the

 terms and conditions of the Post-Petition Credit Agreement dated as of November __, 2009,

 among the Debtors, the DIP Agent, and the DIP Lenders (the “DIP Credit Agreement”), to obtain

 1
   The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are: Lazy Days’
 R.V. Center, Inc. (4794); LD Holdings, Inc. (1834); LDRV Holdings Corp. (6915); and RV Acquisition Inc. (1630).
 The location of the Debtors’ corporate headquarters and the service address for all Debtors is: 6130 Lazy Days
 Boulevard, Seffner, Florida 33584-2968.
 2
   The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Lazy Days’
 R.V. Center, Inc., a Florida corporation (4794); RV Acquisition Inc., a Delaware corporation (1630); LD Holdings,
 Inc., a Delaware corporation (1834); and LDRV Holdings Corp., a Florida corporation (6915).



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postpetition financing from BOA (as defined below) with respect to certain Existing Letters of

Credit and an Epayables Program (as defined in the DIP Credit Agreement), and all instruments,

documents, and agreements executed pursuant to the DIP Credit Agreement (together with the

DIP Credit Agreement and including without limitation all documents pertaining to the Existing

Letters of Credit and the Epayables Program, the “DIP Financing Documents”) to: (a) provide

floor plan financing for the Company, (b) to the extent permitted by the DIP Credit Agreement,

fund the Company’s working capital needs, (c) permit the Debtors to pay the prepetition loans

and other prepetition claims and obligations owed to Bank of America, N.A., as administrative

and collateral agent (the “Prepetition Agent”), and Bank of America, N.A., and KeyBank

National Association, as lenders (the “Prepetition Lenders”) under the Prepetition Credit Facility

(as defined below), which amounts are stipulated by the Debtors to be secured by the prepetition

“Collateral” (as defined in the Prepetition Credit Facility) (the “Prepetition Collateral”), (d) pay

all fees and expenses (including, without limitation, reasonable attorneys’ fees and expenses)

owed to the DIP Agent and the DIP Lenders under the DIP Facility and the DIP Financing

Documents (as defined below), (e) provide for the Company to secure the obligations of Bank of

America, N.A. (individually, “BOA”), under the “Existing Letters of Credit” (as defined in the

DIP Credit Agreement) by a security interest in the “L/C Security Account” (as defined in the

DIP Credit Agreement) and indemnify BOA for losses arising from the Existing Letters of

Credit, and (f) permit the Company to participate in the “Epayables Program” (as defined in the

DIP Credit Agreement) offered by BOA, secure the Company’s obligations under the Epayables

Program with a security interest in the “Epayables Security Account” (as defined in the DIP

Credit Agreement), and indemnify BOA for losses arising from that program;




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        (ii)     requesting, pursuant to section 364(c) and (d) of the Bankruptcy Code, that the

financing under the DIP Financing Documents: (a) have priority over any and all administrative

expenses, including, without limitation, the kinds specified in sections 105, 326, 330, 331,

503(b), 506(c) (subject to approval in the Final Order), 507(b), and 726 of the Bankruptcy Code,

except for the Carve-Out (as defined below) (the “DIP Facility Superpriority Claims”), and (b)

be secured by first priority security interests in, and liens on (collectively, the “DIP Facility

Liens”) the assets of the Debtors constituting “Collateral” as defined in the respective DIP

Financing Documents (but excluding any actions or proceeds of actions under Chapter 5 of the

Bankruptcy Code and subject to any prior permitted liens under the Prepetition Credit

Agreement), as provided for by section 364(c) and (d) of the Bankruptcy Code (all of the

foregoing, collectively, the “Collateral”);

       (iii)     requesting, pursuant to section 363 of the Bankruptcy Code, authorization for the

Debtors’ use of “Cash Collateral” (as defined in section 363(a) of the Bankruptcy Code) pursuant

to the DIP Credit Agreement and this Order;

        (iv)     seeking modification of the automatic stay imposed by section 362 of the

Bankruptcy Code as provided in this Order;

        (v)      authorizing the Debtors, on an interim basis, to obtain under the DIP Facility from

the DIP Agent and DIP Lenders the principal amount of up to $45,000,000 pursuant to the terms

of the DIP Credit Agreement and the other DIP Financing Documents, to maintain the Existing

Letters of Credit with BOA, and to obtain financing on an interim basis from BOA pursuant to

the Epayables Program, to provide to BOA the “L/C Security Agreement” (as defined in the DIP

Credit Agreement), to participate in the Epayables Program of BOA, and to provide to BOA the

“Epayables Security Agreement” (as defined in the DIP Credit Agreement);



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        (vi)      requesting, pursuant to Bankruptcy Rule 4001, that an interim hearing (the

“Interim Hearing” be held for the Court to consider entry of an order approving the DIP Facility

and the use of Cash Collateral on an interim basis; and

       (vii)      requesting, pursuant to Bankruptcy Rule 4001, that a final hearing (the “Final

Hearing”) be held for this Court to consider entry of an order approving the DIP Facility on a

final basis (the “Final Order”), as set forth in the Motion and the DIP Credit Agreement; and,

pursuant to Bankruptcy Rules 4001(b) and 4001(c)(1), due and sufficient notice under the

circumstances of the Motion and the Interim Hearing having been provided by the Debtors as set

forth below.

               Having considered the Motion and the record made by the Debtors at the Interim

Hearing, including without limitation the declarations of Randall Lay, Chief Financial Officer of

the Company in support of the Debtors’ Chapter 11 petitions and first day Motions and Ford R.

Philips in support of the Motion, the Court finds as follows:

         A.       On _________________ (the “Petition Date”), the Debtors each commenced in

this Court a case under chapter 11 of the Bankruptcy Code. The Debtors are continuing to

operate their respective businesses and manage their respective properties as debtors in

possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

         B.       Pursuant to an order of this Court, the Debtors’ chapter 11 cases (the “Chapter 11

Cases”) have been consolidated for procedural purposes only and are being jointly administered.

         C.       This Court has subject matter jurisdiction to consider this matter pursuant to 28

U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before this Court pursuant to 28 U.S.C. §§1408 and 1409.




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         D.      The Debtors acknowledge that (a) the Prepetition Agent, the Prepetition Lenders,

and the Company are parties to a Third Amended and Restated Credit Agreement, originally

dated as of July 15, 1999, as amended and restated as of July 31, 2002, May 14, 2004, and

February 22, 2007, and as subsequently amended January 14, 2008, April 14, 2008, August 30,

2008, September 1, 2008, and December 31, 2008 (the “Prepetition Credit Agreement”),

pursuant to which the Prepetition Agent and the Prepetition Lenders made available to the

Company a revolving floor plan credit facility in an aggregate amount of up to $80,000,000 (the

“Prepetition Credit Facility”), (b) BOA has issued the Existing Letters of Credit on behalf of the

Company, and (c) BOA has extended credit to the Company pursuant to its Epayables Program.

         E.       The Debtors acknowledge that events of default occurred under the Prepetition

Credit Facility and Epayables Program, which resulted in all “Obligations” (as defined in the

Prepetition Credit Agreement and the Epayables Program) becoming due and payable. The

Debtors acknowledge that, as of the Petition Date, (i) an aggregate principal amount of not less

than approximately $22 million was outstanding in respect of loans and other extensions of credit

made by the Prepetition Agent and the Prepetition Lenders to the Company pursuant to the

Prepetition Credit Facility, plus interest, fees, and expenses as provided in the Prepetition Credit

Agreement and all related documents (collectively, the “Prepetition Indebtedness”), and (ii) an

aggregate principal amount of not less than approximately $92,000 was outstanding in respect of

the existing Epayables Program, plus interest, fees, and expenses with respect to that program

(the “Prepetition Epayables Indebtedness”).

         F.      To secure the Prepetition Indebtedness, the Debtors acknowledge and agree that

the Debtors granted to the Prepetition Agent and the Prepetition Lenders, pursuant to the

Prepetition Credit Facility, liens and security interests in the Prepetition Collateral.



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         G.      The Debtors acknowledge and agree that the Prepetition Agent’s and Prepetition

Lenders’ liens on and to the Prepetition Collateral constitute valid, binding, enforceable, and

perfected liens on and to the Prepetition Collateral, having the priority set forth in the Prepetition

Credit Facility, and are not subject to avoidance or subordination pursuant to the Bankruptcy

Code or applicable non-bankruptcy law.           The Debtors acknowledge and agree that the

Prepetition Indebtedness constitutes the legal, valid, binding, and non-avoidable obligations of

the Debtors, enforceable in accordance with its terms (other than in respect of the stay of

enforcement arising under section 362 of the Bankruptcy Code), and is not subject to any offset,

defense, or counterclaim, and no portion of the Prepetition Indebtedness is subject to avoidance,

subordination, or recharacterization pursuant to the Bankruptcy Code or applicable non-

bankruptcy law, and the Debtors do not possess and will not assert any claim, counterclaim,

offset, or defense of any kind, nature, or description, which would in any way affect the validity,

enforceability, and non-avoidability of any of the Prepetition Indebtedness.

         H.      The Debtors acknowledge and agree that the Prepetition Epayables Indebtedness

constitutes the legal, valid, binding, and non-avoidable obligations of the Debtors, enforceable in

accordance with its terms (other than in respect of the stay of enforcement arising under section

362 of the Bankruptcy Code), and is not subject to any offset, defense, or counterclaim, and no

portion of the Prepetition Epayables Indebtedness is subject to avoidance, subordination, or

recharacterization pursuant to the Bankruptcy Code or applicable non-bankruptcy law, and the

Debtors do not possess and will not assert any claim, counterclaim, offset, or defense of any

kind, nature, or description, which would in any way affect the validity, enforceability, and non-

avoidability of any of the Prepetition Epayables Indebtedness.




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         I.      The Debtors’ businesses require the immediate availability of credit to finance the

ordinary costs of their operations, and, without such credit, the Debtors would not be able to

operate their businesses, and the Debtors’ estates would be irreparably harmed.

         J.      The Debtors are unable to obtain sufficient interim unsecured credit solely under

section 503(b)(1) of the Bankruptcy Code as an administrative expense, and credit facilities in

the amounts and on the terms provided by the DIP Facility and the DIP Financing Documents are

unavailable to the Debtors without their granting (i) the DIP Facility Superpriority Claims, (ii)

the DIP Facility Liens as provided herein and in the DIP Financing Documents, and (iii) the liens

and security interests granted pursuant to the L/C Security Agreement and the Epayables

Security Agreement.

         K.      BOA, the DIP Agent, and the DIP Lenders have indicated a willingness to

provide financing to the Debtors subject to (i) the entry of this Order, (ii) the terms and

conditions of the DIP Financing Documents, (iii) the terms and conditions of all preliminary or

“first-day orders” that are, in form and substance, reasonably satisfactory to BOA, the DIP

Agent, and the DIP Lenders, and (iv) findings by the Court that such financing is essential to the

Debtors’ estates, that the terms of such financing were negotiated in good faith and at arm’s

length, and that BOA’s, the DIP Agent’s, and the DIP Lenders’ security interests, liens,

encumbrances, claims, superpriority claims, and other protections granted pursuant to this Order

and the DIP Financing Documents will not be affected by any subsequent reversal, modification,

vacatur, or amendment of this Order or any other order, as provided in section 364(e) of the

Bankruptcy Code.

         L.      The Debtors provided notice of the hearing on the Motion and the entry of this

Order by facsimile or electronic mail (or, where both of the foregoing were impracticable,



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overnight delivery) to (i) the twenty largest unsecured creditors listed in the Debtors’

consolidated list of creditors, (ii) the Office of the United States Trustee for the District of

Delaware, (iii) the entities listed on the Consolidated List of Creditors Holding the 30 Largest

Unsecured Claims filed pursuant to Bankruptcy 1007(d), (iv) counsel to the DIP Agent and the

Prepetition Agent, (v) the Internal Revenue Service, (vi) the Attorney General of the United

States, (vii) the Securities and Exchange Commission, (viii) Bank of New York Mellon, as

indenture trustee for the Debtors’ 11.75% Senior Notes, (ix) counsel to the Ad Hoc Noteholders

Committee, and (x) all creditors known to the Debtors who may have liens against the Debtors’

assets or properties (collectively, the “Service Parties”).    Under the urgent circumstances,

requisite notice of the Motion and the relief requested thereby has been provided in accordance

with Bankruptcy Rule 4001, which notice is sufficient for all purposes under the Bankruptcy

Code, including, without limitation, sections 102(1) and 364 of the Bankruptcy Code, and no

other notice need be provided for entry of this Order.

         M.      The Debtors have requested, and good cause has been shown for, the immediate

entry of this Order pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2). Absent entry of

this Order, the Debtors’ estates will be immediately and irreparably harmed.

         N.      The ability of the Debtors to finance their respective operations and the

availability to the Debtors of sufficient working capital through the incurrence of new

indebtedness for borrowed money and other financial accommodations, including credit support,

is in the best interests of the Debtors and their respective creditors and estates. The interim

financing and other relief sought in the Motion is vital to avoid immediate, irreparable harm to

the Debtors’ estates and to allow the orderly continuation of the Debtors’ businesses.




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         O.         Based upon the record presented by the Debtors to this Court: (i) the terms of the

DIP Facility and the provisions of the DIP Credit Agreement pertaining to security for the

Existing Letters of Credit and Epayables Program are reasonable, reflect the Debtors’ exercise of

prudent business judgment, and are supported by reasonably equivalent value and fair

consideration; and (ii) the DIP Facility and the provisions of the DIP Credit Agreement

pertaining to security for the Existing Letters of Credit and Epayables Program have been

negotiated in good faith and at arm’s length among the Debtors, the DIP Agent, the DIP Lenders,

and BOA, and any credit extended, letters of credit issued, loans made, and other financial

accommodations extended to the Debtors by the DIP Agent, the DIP Lenders, and BOA shall be

deemed to have been extended, issued, or made, as the case may be, in “good faith” within the

meaning of section 364(e) of the Bankruptcy Code.

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

              1.    Grant of Motion. The Motion is granted as set forth in this Order. Any objection

not previously withdrawn is overruled. This Order is effective immediately upon entry. To the

extent that a conflict exists between the terms of this Order and the DIP Financing Documents,

this Order shall control.

         2.         Authorization to Borrow.      Upon finalizing and executing the DIP Credit

Agreement, a copy of which was attached to the Motion, and the other DIP Financing

Documents described in the DIP Credit Agreement and made available at the hearing, and

provided that the Debtors are not in default under the terms of this Order, the Debtors are

authorized to immediately (a) borrow (and engage in the other credit accommodations provided

under the DIP Facility) from the DIP Agent and the DIP Lenders on an interim basis the

principal amount of up to $45,000,000 outstanding at any time pursuant to the terms of the DIP



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Credit Agreement for the Debtors to continue to operate their businesses, and (b) borrow (and

engage in other credit accommodations provided by BOA with respect to the Existing Letters of

Credit and the Epayables Program) for the Debtors to continue to operate their businesses. Upon

execution and delivery, the DIP Financing Documents shall constitute legal, valid, and binding

obligations of the Debtors party thereto, enforceable against each such Debtor in accordance with

their terms. Consistent with the terms of the DIP Credit Agreement and the other DIP Financing

Documents, the Debtors may use advances under the DIP Facility as provided in the DIP Credit

Agreement, including the payment of the Prepetition Indebtedness.

         3.       DIP Facility Superpriority Claims.        For all of the Debtors’ Obligations and

indebtedness arising under the DIP Financing Documents (“DIP Facility Obligations”), BOA,

the DIP Lenders, and the DIP Agent are granted, pursuant to section 364(c)(1) of the Bankruptcy

Code, the DIP Facility Superpriority Claims as described in subparagraph (ii)(A) of the first

paragraph of this Order (which claims shall be payable from and have recourse to, in addition to

the Collateral, any unencumbered post-petition property of the Debtors), with the seniority,

scope, and effect set forth in that subparagraph.

         4.       DIP Facility Liens. As security for the DIP Facility Obligations, pursuant to

sections 364(c)(2), (c)(3), and (d) of the Bankruptcy Code, BOA and the DIP Agent, on behalf of

itself and the DIP Lenders, are hereby granted (effective upon the date of this Order and without

the necessity of the execution by the Debtors or the filing or recordation of mortgages, security

agreements, financing statements, or otherwise) the DIP Facility Liens, all with the perfection,

seniority, scope, and effect set forth in subparagraphs (ii)(b) and (c) of the first paragraph of this

Order. Without limiting the generality of the preceding sentence, BOA, the DIP Agent, and the

DIP Lenders shall have first priority security interests, and liens on, all of the “Collateral” as



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defined in the DIP Credit Agreement and as further described in the other DIP Financing

Documents. In the event of the occurrence of an event of default or similar event under the DIP

Financing Documents (an “Event of Default”), or an event that would constitute an Event of

Default with the giving of notice or lapse of time or both (a “Default”), such security interests

and liens shall be subject to the payment of the Carve-Out.

         5.       Letter of Credit and Epayables Liens.       For all of the Debtors’ obligations

pertaining to the Existing Letters of Credit and arising under the Epayables Program, BOA shall

have first priority perfected security interests in the L/C Security Account and in the Epayables

Security Account, respectively, pursuant to the DIP Credit Agreement, the L/C Security

Agreement, and the Epayables Security Agreement

         6.       Carve-Out. The DIP Facility Superpriority Claims, the DIP Facility Liens, and

the Prepetition Lenders’ liens in and to the Prepetition Collateral shall be subject only to the

payment of the following fees and expenses (the “Carve-Out”): (x) fees to the Clerk of the Court

and to the Office of the United States Trustee pursuant to 28 U.S.C. § 1930 and (y) subject in

each case to a cumulative, maximum, aggregate amount set forth below as the “Carve-Out

Amount,” the unpaid and outstanding fees and disbursements actually incurred on or after the

Petition Date by the Debtors’ Professionals (as defined in the DIP Credit Agreement) and

professionals for the official committee of unsecured creditors (the “Committee,”), if any,

appointed in the Chapter 11 Cases (collectively, the “Professionals”) and allowed by order of this

Court pursuant to sections 326, 328, 330, or 331 of the Bankruptcy Code (collectively, the

“Allowed Professional Fees”); provided, however, that the Carve-Out shall not include, apply to,

or be available to any fees or expenses incurred by any party, including the Debtors or any

Committee, in connection with any of the following: (a) an assertion, a joinder in, or the support



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of (but excluding any investigation conducted prior to the assertion or joinder in) the initiation or

prosecution of any claims, causes of action, adversary proceedings, or other litigation against

BOA, the DIP Agent, the DIP Lenders, the Prepetition Agent, or the Prepetition Lenders

including, without limitation, challenging the extent, amount, legality, validity, priority,

perfection, or enforceability of, or asserting any offset, defense, or counterclaim to, (i) the DIP

Facility Obligations or the security interests and liens of BOA or the DIP Agent in respect

thereof, or (ii) the Prepetition Indebtedness, the Prepetition Credit Facility, the Prepetition Credit

Agreement, or the security interests and liens of the Prepetition Agent and Prepetition Lenders

in respect thereof, or asserting any claims or causes of action, including, without limitation, any

actions under chapter 5 of the Bankruptcy Code, against BOA, the DIP Agent, the DIP Lenders,

the Prepetition Agent, or the Prepetition Lenders, (b) a request to use Cash Collateral without the

prior written consent of the DIP Agent and DIP Lenders, (c) a request for authorization to obtain

post-petition loans or other financial accommodations pursuant to section 364(c) or (d) of the

Bankruptcy Code other than from BOA or the DIP Lenders, as the case may be, without the prior

written consent of BOA or the DIP Lenders, or (d) any act or omission to act adverse to BOA,

the DIP Agent, the DIP Lenders, or their respective rights and remedies under the DIP Credit

Agreement and the other DIP Financing Documents or their interests in the Collateral that

would, individually or in the aggregate, have a Material Adverse Effect (as defined in the DIP

Credit Agreement). The foregoing shall not be construed as consent to the allowance of any fees

and expenses referred to above and shall not affect the right of BOA, the Debtors, the DIP Agent,

the DIP Lenders, any Committee, the Ad Hoc Noteholders Committee, the U.S. Trustee, or other

parties in interest to object to the allowance and payment of such amounts. Any payment or

reimbursement made either directly by or on behalf of BOA or the DIP Lenders at any time or by



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or on behalf of the Debtors on or after the occurrence of an Event of Default in respect of any

Allowed Professional Fees or any other obligations relating to the Carve-Out shall, in either case,

permanently reduce the Carve-Out on a dollar-for-dollar basis. The DIP Lenders’ obligation to

fund or otherwise pay the Carve-Out and any other claims entitled to payment under paragraphs

6 and 7 shall be added to and made a part of the DIP Facility Obligations, secured by the

Collateral, and shall entitle BOA, the DIP Agent, and the DIP Lenders to all of the rights, claims,

liens, priorities, and protections under this Order, the DIP Financing Documents, the Bankruptcy

Code, and applicable non-bankruptcy law. Payment of any obligations relating to the Carve-Out,

whether by or on behalf of BOA or the DIP Lenders, shall not and shall not be deemed to reduce

the DIP Facility Obligations and shall not and shall not be deemed to subordinate any of the DIP

Facility Liens or the DIP Facility Superpriority Claims to any junior prepetition or postpetition

lien, interest, or claim in favor of any other party. Except as otherwise provided herein with

respect to the Carve-Out and the other claims entitled to payment under paragraphs 6 and 7,

BOA, the DIP Agent, and the DIP Lenders shall not be responsible for the direct payment or

reimbursement of any fees or disbursements of any Professionals incurred in connection with the

Chapter 11 Cases or the Debtors’ cases under any other chapter of the Bankruptcy Code, and

nothing in this Order or otherwise shall be construed to obligate BOA, the DIP Agent, or the DIP

Lenders, in any way, to pay compensation to or to reimburse expenses of any Professional, or to

ensure that the Debtors have sufficient funds to pay such compensation or reimbursement.

         7.       Carve-Out Amount. For purposes of this order, the “Carve-Out Amount” for

Allowed Professional Fees incurred on or after the Petition Date through the earlier of (a) the

effective date of the Debtors’ Prepackaged Plan of Reorganization (the “Plan”) filed in these

cases or (b) the date the DIP Agent issues a notice of an Event of Default (as defined in the DIP



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Credit Agreement) to any of the Debtors or their counsel (the “Pre-Default Period”) is a

maximum, cumulative, aggregate amount of $2,000,000, and after the DIP Agent issues any such

notice of an Event of Default, is a maximum cumulative, aggregate amount of $500,000, less the

amount of any retainer or other deposit or security held by any Professional at the time the notice

of an Event of Default is issued. If during the Pre-Default Period the Debtors make one or more

requests in writing to the DIP Agent that the DIP Agent and the DIP Lenders increase the Carve-

Out Amount applicable during the Pre-Default Period by not more than 10% in any single

request, specifying the proposed new Carve-Out Amount for that period and the reasons for the

requested increase, and the DIP Agent in its discretion does not object to the request within five

business days after receipt of the request, the Carve-Out Amount for the Pre-Default Period will

increase to the amount so requested by the Debtors.

         8.       Allowance of Claims. Consistent with the terms of the Plan, the consent of any

impaired classes of claims, and the Debtors’ intent to seek confirmation of the Plan at the earliest

possible time, the claims of the Prepetition Agent and the Prepetition Lenders under the

Prepetition Credit Facility, as secured by the Prepetition Collateral are deemed to be allowed,

subject to the provisions of paragraph 9 of this order, and shall be paid from advances under the

DIP Facility.

         9.       Investigation Period.    Notwithstanding anything herein or in the DIP Loan

Documents to the contrary, the Committee, if any, or other party in interest (except the Debtors

or other parties consenting to the entry of this order) shall have until no later than the earlier of

(i) 75 days after the Petition Date, (ii) the deadline established by the court for the filing of

objections to confirmation of the Plan, and (iii) for any Committee, if formed, 60 days after the

date of such Committee’s formation (the “Investigation Termination Date”) to investigate the



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validity, perfection, enforceability, extent of the Prepetition Indebtedness and Prepetition Liens,

lender liability claims and causes of action, any actions, claims or defenses under chapter 5 of the

Bankruptcy Code or any other claims or causes of action. Any challenge pursuant to this

paragraph must be made by a party in interest with standing properly commencing an adversary

proceeding on or before the Investigation Termination Date. If no such action is filed on or

before the Investigation Termination Date, all holders of claims and interests as well as other

parties in interest shall be forever barred from bringing or taking any action, and the Debtors’

stipulations and acknowledgements made in paragraphs __ shall be binding on all parties in

interest.

       10.        Payment of Administrative Claims. So long as no Default or Event of Default

shall have occurred, the Debtors shall be permitted to pay Allowed Professional Fees incurred

and allowed and payable to under sections 330 and 331 of the Bankruptcy Code, as the same

may become due and payable, subject to the Carve-Out and the Carve-Out Amount; provided,

however, that nothing contained in this Order or otherwise shall be construed to obligate BOA,

the DIP Agent, or the DIP Lenders in any way to lend or advance any additional funds to the

Debtors or provide other financial accommodations to the Debtors, upon or after the occurrence

of an Event of Default or Default.

       11.        Limitation on Additional Surcharges. So long as the DIP Lenders are providing

postpetition financing or otherwise allowing the use of Cash Collateral, with the exception of

Carve-Out and fees payable pursuant to 28 U.S.C. § 1930 and to the Clerk of the Court, and

subject to approval at the Final Hearing, neither the Collateral nor BOA, the DIP Agent, nor the

DIP Lenders shall be subject to surcharge, pursuant to section 506(c) of the Bankruptcy Code or

otherwise, by the Debtors or any other party in interest, until all DIP Facility Obligations and



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Prepetition Indebtedness are indefeasibly paid in full in cash (or cash collateralized), without the

prior written consent of BOA, the DIP Agent, and DIP Lenders, and no such consent shall be

implied from any other action, inaction, or acquiescence by BOA, the DIP Agent, or the DIP

Lenders in this proceeding, including, but not limited to, funding of the Debtors’ ongoing

operations by BOA, the DIP Agent, or the DIP Lenders. Upon approval at the Final Hearing,

none of BOA, the DIP Agent, or the DIP Lenders shall be subject to the equitable doctrine of

“marshaling” or any similar doctrine with respect to the Collateral.

       12.        Restrictions on Use of Proceeds. The Debtors may use the proceeds of the DIP

Facility only for the purposes specifically set forth in the DIP Credit Agreement and other DIP

Financing Documents.       Notwithstanding anything set forth herein or in the DIP Financing

Documents to the contrary, no proceeds of the DIP Facility or any proceeds of the Collateral may

be used by the Debtors or any other person or entity to (a) assert, join in, or support the initiation

or prosecution of any claims, causes of action, adversary proceedings, or other litigation against

BOA, the DIP Agent, the DIP Lenders, the Prepetition Agent, or the Prepetition Lenders,

including, without limitation, to challenge the amount, validity, extent, perfection, priority, or

enforceability of, or assert any defense, counterclaim, or offset to, (i) the DIP Facility

Obligations or the security interests and liens of BOA, the DIP Agent, and the DIP Lenders in

respect thereof and/or (ii) the Prepetition Indebtedness or the security interests and liens of the

Prepetition Agent and the Prepetition Lenders in respect thereof, or any other rights or interests

of BOA, the DIP Agent, the DIP Lenders, the Prepetition Agent, or the Prepetition Lenders, or

assert any claims or causes of action, including, without limitation, any actions under chapter 5

of the Bankruptcy Code, against BOA, the DIP Agent, the DIP Lenders, the Prepetition Agent, or

the Prepetition Lenders, (b) request to use Cash Collateral (as defined in section 363 of the



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Bankruptcy Code) without the prior written consent of the DIP Lenders, (c) request authorization

to obtain postpetition loans or other financial accommodations pursuant to section 364(c) or (d)

of the Bankruptcy Code other than from BOA or the DIP Lenders without the prior written

consent of BOA and the DIP Lenders, or (e) act or fail to act in a manner adverse to BOA, the

DIP Agent, the DIP Lenders, or their rights and remedies under the DIP Credit Agreement or

their interests in the Collateral, which act or failure to act would, individually or in the aggregate,

have a Material Adverse Effect.

       13.        Commitment Termination Date. The DIP Facility Obligations shall be due and

payable, without notice or demand, on the Termination Date (as defined in the DIP Credit

Agreement) (the “Commitment Termination Date”).

         14.      Fees and Expenses of BOA, the DIP Agent, and the DIP Lenders. The Debtors

shall, promptly following receipt of a written invoice, reimburse BOA, the DIP Agent, and the

DIP Lenders for all their costs, fees (including reasonable attorneys’ fees), charges, and expenses

incurred (whether incurred prior to or after the Petition Date) in connection with the DIP Facility,

any of the Financing Documents, or the Chapter 11 Cases, and the DIP Agent shall have the

option of making an advance for the account of the Debtors under the DIP Credit Agreement to

pay such costs, fees, charges, and expenses. None of such costs, fees, charges, and expenses

shall be subject to Court approval, and no recipient of any such payment shall be required to file

with respect thereto any interim or final fee application with the Court, provided that the Court

shall have jurisdiction to determine any dispute concerning such invoices.

         15.      Restrictions on the Debtors. Other than the Carve-Out, no claim having a priority

superior or pari passu with those granted by this Order to BOA, the DIP Agent, and the DIP

Lenders shall be granted or permitted by any order of the Court heretofore or hereafter entered in



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the Chapter 11 Cases, while any portion of the DIP Facility Obligations (or refinancing thereof)

or any commitment under the DIP Credit Agreement or any other DIP Financing Document

remains outstanding. Except as expressly permitted by the DIP Credit Agreement, the Debtors

will not, at any time during the Chapter 11 Cases, grant mortgages, security interests, or liens in

the Collateral or any portion thereof to any other parties pursuant to section 364(d) of the

Bankruptcy Code or otherwise.

         16.      Additional Perfection Measures. BOA, the DIP Agent, and DIP Lenders shall not

be required to file financing statements, mortgages, deeds of trust, notices of lien, or similar

instruments in any jurisdiction or effect any other action to attach or perfect the security interests

and liens granted under the DIP Financing Documents and this Order (including, without

limitation, the execution of any control, lock-box, deposit account, or similar documents or

agreements). Notwithstanding the foregoing, BOA, the DIP Agent, and DIP Lenders may, in

their sole discretion, file (or require the Debtors to execute and file) such financing statements,

mortgages, deeds of trust, notices of lien, or similar instruments or otherwise confirm perfection

of such liens, security interests, and mortgages without seeking modification of the automatic

stay under section 362 of the Bankruptcy Code, and all such documents shall be deemed to have

been filed or recorded at the time of and on the Petition Date and all recording fees and expenses

shall be borne by the Debtors.

         17.      Automatic Stay. Subject only to the provisions of the DIP Credit Agreement, the

automatic stay provisions of section 362 of the Bankruptcy Code are vacated and modified to the

extent necessary to permit BOA, the DIP Agent, and DIP Lenders, upon the occurrence and

during the continuance of any Default or Event of Default, upon giving notice to the Company,

counsel to the Ad Hoc Noteholders Committee, counsel to any Committee, and the U.S. Trustee,



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to take one or more of the following actions: (a) terminate the obligations of the Lenders to

extend any further credit under the DIP Credit Agreement              or the other DIP Financing

Documents and (b) declare all outstanding obligations under the DIP Credit Agreement and the

DIP Facility to be immediately due and payable. Additionally, the DIP Agent and the DIP

Lenders, by three business days’ notice to the Company, the Ad Hoc Noteholders Committee,

and the U.S. Trustee, may, in addition, to any other remedies to which they are entitled, enforce

any and all rights and remedies available to the DIP Agent and DIP Lenders, and BOA under the

Financing Documents or applicable law. During that three-day period, (a) the Company may

continue to us its cash collateral strictly for the purpose of paying only usual and necessary

operating expenses in the ordinary course of its business and consistent with its past practice; (b)

the Company and the other Debtors will not under any circumstances fail to maintain their bank

accounts, cash management accounts, checking accounts, savings accounts, and other accounts

with the DIP Agent, or fail to cause all remittances, receipts, and other funds (in every form and

from every source) they receive or obtain to be deposited into their accounts with the DIP Agent;

and (c) the Debtors, any Committee, the Ad Hoc Noteholders Committee, or any other party in

interest shall have the right to make an emergency application to the Court to seek a

determination as to whether a Default or Event of Default has actually occurred and is continuing

in accordance with the DIP Credit Agreement, any other DIP Financing Document, and this

Order. Notwithstanding the occurrence of an Event of Default or the Commitment Termination

Date or anything herein, all of the rights, remedies, benefits, and protections provided to BOA,

the DIP Agent, and DIP Lenders under the DIP Financing Documents and this Order shall

survive the Commitment Termination Date.




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         18.      Binding Effect. The provisions of this Order shall be binding upon and inure to

the benefit of BOA, the DIP Agent, the DIP Lenders, the Prepetition Agent, the Prepetition

Lenders, the Debtors, and their respective successors and assigns. To the extent permitted by

applicable law, this Order shall bind any trustee hereafter appointed for the estate of any Debtor,

whether in these Chapter 11 Cases or in the event of the conversion of any Chapter 11 Case to a

liquidation under chapter 7 of the Bankruptcy Code. Such binding effect is an integral part of

this Order.

         19.      Survival. The provisions of this Order and any actions taken pursuant hereto shall

survive the entry of any order (i) confirming any plan of reorganization in any of the Chapter 11

Cases; or (iii) dismissing any of the Chapter 11 Cases, and the terms and provisions of this Order

as well as the DIP Facility Superpriority Claims and the DIP Facility Liens granted pursuant to

this Order and the DIP Financing Documents shall continue in full force and effect

notwithstanding the entry of any such order, and such claims and liens shall maintain their

priority as provided by this Order and the DIP Financing Documents and to the maximum extent

permitted by law until all of the DIP Facility Obligations are indefeasibly paid in full and

discharged (and, with respect to outstanding undrawn letters of credit issued pursuant to the DIP

Credit Agreement, each collateralized in accordance with the provisions of the DIP Credit

Agreement).

         20.      Dismissal of Cases. Unless all DIP Facility Obligations shall have been paid in

full (and, with respect to outstanding undrawn letters of credit issued pursuant to the DIP Credit

Agreement, cash collateralized in accordance with the provisions of the DIP Credit Agreement),

it shall constitute an Event of Default if any of the Debtors seek, or if there is entered, an order

dismissing any of the Chapter 11 Cases. If an order dismissing any of the Chapter 11 Cases



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under section 1112 of the Bankruptcy Code or otherwise is at any time entered, such order shall

provide (in accordance with sections 105 and 349 of the Bankruptcy Code) that the superpriority

claims, liens, and security interests, replacement security interests, and other protections granted

to BOA, the DIP Agent, and/or the DIP Lenders pursuant to this Order and the DIP Financing

Documents shall continue in full force and effect and shall remain their priorities as provided in

this Order until all DIP Facility Obligations in respect thereof shall have been paid and satisfied

in full (and that such superpriority claims, liens, and other protections, shall, notwithstanding

such dismissal, remain binding on all parties in interest).

         21.      After Acquired Property. Except as otherwise provided in this Order, pursuant to

section 552(a) of the Bankruptcy Code, all property acquired by the Debtors after the Petition

Date, including, without limitation, all Collateral pledged to the DIP Agent, on behalf of itself

and the DIP Lenders, pursuant to the DIP Financing Documents and this Order, is not and shall

not be subject to any lien of any person or entity resulting from any security agreement entered

into by the Debtors prior to the Petition Date, except to the extent that such property constitutes

proceeds of property of the Debtors that is subject to a valid, enforceable, perfected, and

unavoidable lien as of the Petition Date.

         22.      Access to the Debtors. Without limiting the rights of access and information

afforded BOA, the DIP Agent, and DIP Lenders under the DIP Financing Documents, the

Debtors shall permit representatives, agents, and employees of BOA, the DIP Agent, and DIP

Lenders to have reasonable access to their premises and records during normal business hours

(without unreasonable interference with the proper operation of the Debtors’ businesses) and

shall cooperate, consult with, and provide to such representatives, agents, and employees all such

non-privileged information as they may reasonably request.



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         23.      Authorization to Act. Each of the Debtors is authorized to do and perform all

acts, to make, execute, and deliver all instruments and documents (including, without limitation,

the execution of security agreements, mortgages, and financing statements), and to pay fees and

costs, which may be reasonably required or necessary for the Debtors’ performance under the

DIP Facility and this Order, including, without limitation:

                  (i)     the execution of the DIP Financing Documents;

                  (ii)    the modification or amendment of the DIP Credit Agreement or any other

          DIP Financing Document without further order of this Court, in each case, in such form

          as BOA, the Debtors, the DIP Agent, and the DIP Lenders may agree (except for any

          modification or amendment to shorten the maturity of the extensions of credit

          thereunder, or increase the rate of interest or the letter of credit fees payable thereunder);

          provided, however, that notice of any such modification or amendment shall be provided

          to any Committee, the Ad Hoc Noteholders Committee, and the U.S. Trustee, each of

          which will have five business days from the date of such notice within which to object

          in writing; provided further, however, that if such objection is timely provided, then

          such modification or amendment shall be permitted only pursuant to an order of the

          Court; and

                  (iii)   the non-refundable payment to BOA, the DIP Agent, or the DIP Lenders,

          as the case may be, of the fees referred to in the DIP Credit Agreement and the other

          Financing Documents and reasonable costs and expenses as may be due from time to

          time, including, without limitation, reasonable attorneys’ and other professional fees and

          disbursements as provided in the DIP Financing Documents.




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         24.      Insurance Policies. Upon entry of this Order, the DIP Agent and DIP Lenders

shall be, and shall be deemed to be, without any further action or notice, named as additional

insureds and loss payees on each insurance policy maintained by the Debtors which in any way

relates to the Collateral.

         25.      DIP Agent Review of Corporate Governance and New Equity Commitment

Documents; Plan Modifications. The DIP Agent, on behalf of itself, the DIP Lenders and the

lenders providing exit financing under the Plan (the “Exit Lenders”), shall have the right to

review the proposed forms of the Corporate Governance Documents (as defined in the Plan), the

New Equity Commitment Documents (as defined in the Plan), and every proposed amendment or

supplement to the Plan. Each term in the Corporate Governance Documents and the New Equity

Commitment Documents that adversely affects or could adversely affect the financial condition

or performance of the reorganized Debtors or the ability of the reorganized Debtors to perform

one or more of their respective obligations under the proposed Exit Facility (as defined in the

Plan) must be acceptable to the DIP Agent, each DIP Lender, and each Exit Lender in the sole

discretion of each. In addition, each proposed material modification or supplement to the Plan

(excluding the terms of the proposed Corporate Governance Documents and New Equity

Documents that are included in a modification or supplement, which are subject solely to the

review and approval rights in the foregoing sentence) that adversely affects or could adversely

affect the financial condition or performance of the reorganized Debtors or the ability of the

reorganized Debtors to perform one or more of their respective obligations under the proposed

Exit Facility, must be acceptable to the Agent, each DIP Lender, and each Exit Lender in the sole

discretion of each.




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         26.      Subsequent Reversal. If any or all of the provisions of this Order or the DIP

Financing Documents are hereafter modified, vacated, amended, or stayed by subsequent order

of this Court or any other court without the consent of BOA, the DIP Agent, and the DIP

Lenders: (i) such modification, vacatur, amendment, or stay shall not affect the validity of any

obligation to BOA, the DIP Agent, or DIP Lenders that is or was incurred prior to the effective

date of such modification, vacatur, amendment, or stay (the “Effective Date”), or the validity and

enforceability of any security interest, lien, or priority authorized or created by this Order and the

DIP Financing Documents; and (ii) the DIP Facility Obligations pursuant to this Order and the

DIP Financing Documents arising prior to the Effective Date shall be governed in all respects by

the original provisions of this Order and the DIP Financing Documents, and the validity of any

such credit extended or security interest granted pursuant to this Order and the DIP Financing

Documents is protected by section 364(e) of the Bankruptcy Code.

         27.      Final Hearing. This Order is set for a Final Hearing at ________________

(Prevailing Eastern Time) on _________________________ in this Court, at which time any

party in interest may appear and state its objections. The notice provided by the Debtors of the

Interim Hearing was provided in accordance with Bankruptcy Rule 4001(c)(2). The Debtors

shall promptly mail copies of this Order and notice of the Final Hearing to the Service Parties.

Any objection by a party-in-interest to the relief sought in the Final Order shall be made in

writing and filed with the Court (with a courtesy copy to chambers) and served upon counsel for

the Debtors, counsel for BOA, the DIP Agent, and the U.S. Trustee so as to be received no later

than 5:00 p.m. (Prevailing Eastern Time) on __________________________. If no objection is

timely filed in accordance with the foregoing, the Court may grant the Motion and enter the Final

Order without a hearing.



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         28.      Finding of Fact and Conclusions of Law. This Order constitutes findings of fact

and conclusions of law and shall take effect and be fully enforceable nunc pro tunc to the

Petition Date immediately upon the entry thereof.

         29.      Controlling Effect of Order. To the extent any provision of this Order conflicts

with any provision of the Motion, any prepetition agreement, or any document executed in

connection with the DIP Facility, the provisions of this Order shall control.

Dated: Wilmington, Delaware
       November____, 2009
                                               _____________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




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